                Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 1 of 17


     0
 1                                                                         The Honorable Richard A. Jones
 2

 3

 4                              IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 5                                           AT SEATTLE
 6
   ABDIQAFAR WAGAFE, et al., on behalf of                 CASE NO. 2:17-cv-00094-RAJ
 7 himself and other similarly situated,
                                                          DEFENDANTS’ NOTICE OF
 8                                  Plaintiffs,           MOTION, AND MOTION TO
                                                          EXCLUDE TESTIMONY OF SEAN
 9                  v.                                    M. KRUSKOL; MEMORANDUM
                                                          OF SUPPORTING POINTS AND
10 JOSEPH R. BIDEN, President of the United               AUTHORITIES
   States, et al.,
11                                                        (Note On Motion Calendar for:
                            Defendants. 1                   April 9, 2021)
12

13                                                        FILED UNDER SEAL
14

15

16            Defendants, through their attorneys of record, hereby move this Court pursuant Fed. R. Evid.

17 104(a) and 702, and pursuant to the Court’s gatekeeping requirements to screen expert evidence for

18 relevancy and reliability, to exclude the testimony, Declaration and reports of Sean M. Kruskol, an

19 accountant (CPA) whom Plaintiffs designated as their expert in statistical analysis. Defendants also

20 move for the exclusion of Mr. Kruskol’s testimony, Declaration and reports under Fed. R. Evid. 403.

21            This Motion is based upon the papers filed herein, including the following Memorandum,

22 and Exhibits identified in a contemporaneously filed attorney Declaration of Lindsay M. Murphy

23 and attached thereto, or submitted with Defendants’ Motion to file exhibits under seal. A proposed

24 order is submitted for consideration by the Court.

25

26
     1 Plaintiffs
                sued all individual defendants only in their official capacities. See Dkt. No. 47 at 8-9.
27
     Pursuant to Fed. R. Civ. P. 24(d), the offices’ incumbents are substituted for their predecessors.
28                                                                                   UNITED S TATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                    C IVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                    LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 1                       Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                 Washington, D.C. 20044
                                                                                                  (202) 616-4900
               Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 2 of 17



 1 Dated: March 25, 2021                   Respectfully submitted,
 2
   BRIAN M. BOYNTON                        W. MANNING EVANS
 3 Acting Assistant Attorney General       Senior Trial Counsel
   Civil Division                          Office of Immigration Litigation
 4 U.S. Department of Justice
                                           /s/ Lindsay M. Murphy
 5 AUGUST FLENTJE                          LINDSAY M. MURPHY
   Civil Division                          Senior Counsel for National Security
 6
   Special Counsel                         Office of Immigration Litigation
 7
   ETHAN B. KANTER                         LEON B. TARANTO
 8 Chief, National Security Unit           Trial Attorney
   Office of Immigration Litigation        Torts Branch
 9 Civil Division
10                                         BRENDAN T. MOORE
   BRIAN T. MORAN                          Trial Attorney
11 United States Attorney                  Office of Immigration Litigation

12 BRIAN C. KIPNIS                         JESSE L. BUSEN
   Assistant United States Attorney        Counsel for National Security
13 Western District of Washington          Office of Immigration Litigation
14
   ANNE DONOHUE                            VICTORIA M. BRAGA
15 Counsel for National Security           Trial Attorney
   Office of Immigration Litigation        Office of Immigration Litigation
16
   ANTONIA KONKOLY
17 Trial Attorney

18 Federal Programs Branch                 Counsel for Defendants

19

20

21

22

23

24

25

26

27

28                                                                            UNITED S TATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.             C IVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                             LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 2                Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                          Washington, D.C. 20044
                                                                                           (202) 616-4900
               Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 3 of 17



 1                             MEMORANDUM OF POINTS AND AUTHORITIES

 2                                              INTRODUCTION

 3           Defendants seek to exclude evidence from Plaintiffs’ accounting expert Sean M. Kruskol,

 4 offered as a statistical expert, because he lacks the requisite expertise in statistical analysis.

 5 Additionally, Mr. Kruskol’s opinions and testimony do not satisfy Fed. R. Evid. 104(a) and 702 and

 6 the Daubert requirements for relevancy and reliability, and would not assist the Court in addressing

 7 any material issue. Defendants also seek its exclusion under Fed. R. Evid. 403.

 8                                              BACKGROUND

 9           Mr. Kruskol, a Certified Public Accountant (CPA), claims expertise in “forensic accounting,

10 valuation, causation and economic damages issues in a wide variety of commercial disputes,” but not

11 in statistical analyses, nor in processing immigration benefit applications, the issues on which

12 Plaintiffs offer his testimony as a statistical expert. See Kruskol Declaration executed March 4, 2021

13 (Exhibit A) at Ex. BJ (Kruskol resume appended to Declaration). In addition to a Declaration, Mr.

14 Kruskol submitted three expert reports. 2 His February 28, 2020, initial report was replaced by his

15 July 17, 2020, Supplemental Report (Ex. B), and supplemented by his September 21, 2020, Second

16 Supplemental Report (Ex. C). He was deposed on October 20, 2020. See Ex. D (Kruskol dep.).

17                                           LEGAL STANDARDS

18           The testimony and opinions of an expert witness must satisfy Fed. R. Evid. 702 requirements,

19 which govern the admissibility of expert testimony. Rule 702 provides:

20           If scientific, technical or other specialized knowledge will assist the trier of fact to
             understand the evidence or to determine a fact in issue, a witness qualified as an expert
21           by knowledge, skill, experience, training or education, may testify thereto in the form
22           of an opinion or otherwise, if (1) the testimony is based upon sufficient facts or data,
             (2) the testimony is the product of reliable principles and methods, and (3) the witness
23           has applied the principles and methods reliably to the facts of the case.

24 The trial court “must determine whether the expert witness is qualified and has specialized

25 knowledge that will assist a trier of fact to understand the evidence or determine a fact in issue.”

26
   2 Exhibits offered in support of this Motion are identified in the contemporaneously filed
27 Declaration of Lindsay M. Murphy, and submitted with Defendants’ Motion to Seal because they
   include protective order information. A redacted Exhibit D is appended to the Murphy Declaration.
28                                                                                UNITED S TATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                       C IVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                       LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 1                          Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                    Washington, D.C. 20044
                                                                                                     (202) 616-4900
               Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 4 of 17



 1 McKendall v. Crown Control Corp., 122 F.3d 803, 805-06 (9th Cir. 1997) (internal quotes and

 2 citation omitted). Accord, City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1043 (9th Cir.

 3 2014). Rule 702 also requires trial judges to ensure “that an expert’s testimony both rests on a

 4 reliable foundation and is relevant to the task at hand.” Daubert v. Merrell Dow Pharms., Inc., 509

 5 U.S. 579, 597 (1993). Thus, the Court must screen the proffered evidence to ensure it is not only

 6 relevant but reliable, which the testimony’s proponent must establish. Estate of Barabin v.

 7 AstenJohnson, Inc., 740 F.3d 457, 463, 466 (9th Cir. 2014). The Court is required to assess, under

 8 Fed. R. Evid. 104(a), whether the expert is proposing to testify to “specialized knowledge that will

 9 help the factfinder understand or decide a fact in issue.” United States v. Alatorre, 222 F.3d 1098,

10 1102-03 (9th Cir. 2000), citing Daubert, 509 U.S. at 592. In exercising discretion under Rule 702 to

11 allow expert testimony to assist the trier of fact to understand the evidence or determine a fact in

12 issue, the Court is to determine whether it is based upon sufficient facts or data, is the product of

13 reliable principles and methods, and that the expert has reliably applied the principles and methods

14 to the facts of the case. Alaska Rent-A-Car, Inc. v. Avis Budget Grp., Inc., 709 F.3d 872, 882-83 (9th

15 Cir. 2013). Expert testimony is relevant only if the knowledge underlying it has a valid connection

16 to the pertinent inquiry, and is reliable only if that knowledge has a reliable basis in the knowledge

17 and experience of the relevant discipline. City of Pomona, 750 F.3d at 1043-44.

18           The basic purpose of a trial court’s “gatekeeping requirement” is to ensure that the expert

19 “employs in the courtroom the same level of intellectual rigor that characterizes the practice of an

20 expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999). This

21 gatekeeping requirement applies not only to scientific knowledge, but also to testimony based on

22 technical and specialized knowledge. Id. at 141. A proponent of expert testimony must “explain the

23 methodology the experts followed to reach their conclusions [and] point to any external source to

24 validate that methodology.” Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311, 1319 (9th Cir.

25 1995). Although the inquiry is “a flexible one,” the Supreme Court suggested specific factors likely

26 to help trial courts evaluate whether expert testimony is reliable, including testing, peer review, error

27 rates, and acceptance in the relevant scientific community. Daubert, 509 U.S. at 593-94.

28                                                                                   UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                    CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                   LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 2                      Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                 Washington, D.C. 20044
                                                                                                 (202) 616-4900
                Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 5 of 17



 1           The requirement of specialized knowledge means “more than subjective belief or

 2 unsupported speculation.” Daubert, 509 U.S. at 590. Thus, “the opinions of [expert] witnesses on

 3 the intent, motives or states of mind of corporations, regulatory agencies and others” should be

 4 excluded because these opinions “have no basis in any relevant body of knowledge or expertise.” In

 5 re Rezulin Prod. Liab. Lit., 309 F. Supp. 2d 531, 546 (S.D.N.Y. 2004). An expert should also not

 6 “supplant the role of counsel in making argument at trial, and the role of the [decision maker] in

 7 interpreting the evidence.” Id.; see also Moses v. Payne, 555 F.3d 742, 756 (9th Cir. 2009) (“Under

 8 Rule 702, expert testimony is helpful . . . if it concerns matters beyond the common knowledge of

 9 the average layperson and is not misleading.”); United States v. Hanna, 293 F.3d 1080, 1086 (9th

10 Cir. 2002); United States v. Morales, 108 F.3d 1031, 1039 (9th Cir. 1997) (en banc). The Court

11 “may reject expert testimony also where the ‘analytical gap’ between the data and the expert’s

12 conclusion is too great.” Kennedy v. Collagen Corp., 161 F.3d 1226, 1228 (9th Cir. 1998), citing

13 General Elec. Co. v. Joiner, 522 U.S. 136, 146, 118 S. Ct. 512, 519 (2007).

14           “Even when expert testimony is otherwise admissible, the district court may exclude it under

15 Rule 403.” United States v. Vallejo, No. 99-50762, 2001 U.S. App. LEXIS 7367, at *31 (9th Cir.

16 Jan. 16, 2001). Thus, if the Court finds that the testimony would waste time, confuse, or not

17 materially assist the trier of fact, it has discretion to exclude the expert’s testimony. Vallejo, 2001

18 U.S. App. LEXIS 7367 at *12-15, citing United States v. Hicks, 103 F.3d 837, 847 (9th Cir.

19 1996), cert. denied, 520 U.S. 1193, 117 S. Ct. 1483 (1997).

20                                                 ARGUMENT

21         I.        Mr. Kruskol’s testimony, Declaration and reports should be excluded because he
                     lacks expertise to make statistical analyses related to the issues in this litigation.
22
             Plaintiffs portray Mr. Kruskol as an expert in statistical analysis, but he falls short of the
23
     mark in fundamental respects. He readily concedes that key aspects of statistical analysis are simply
24
     beyond his expertise, including some central to this case, specifically regression analyses, tests for p-
25
     values and determining statistical significance, and trends analyses – none of which he can perform.
26
     Kruskol dep. (Ex. D) at 34:9 – 35:8. The Federal Judicial Center’s Reference Manual on Scientific
27
     Evidence, 3d ed. (2011) underscores the critical importance of regression analyses, p-values,
28                                                                                      UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                       CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                      LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 3                         Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                    Washington, D.C. 20044
                                                                                                    (202) 616-4900
               Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 6 of 17



 1 statistical significance and trends analyses in statistical analyses in its Reference Guide on Statistics

 2 at pp. 213, 220-21, 230-31, 233, 236, 240-41, 248-58, 260-72, 279-95, 297-99. See also Reference

 3 Guide on Multiple Regressions at pp. 303 et seq. As Mr. Kruskol is incompetent to conduct, present

 4 or interpret such fundamental statistical analyses, he simply cannot qualify as an expert witness in

 5 statistical analysis. Despite Mr. Kruskol’s admitted lack of expertise, he seeks to testify to his

 6 criticisms of regression analyses and tests of statistical significance and for p-values conducted by

 7 Defendants’ statistical expert, Dr. Bernard Siskin. Kruskol dep. (Ex. D) at 186:18 – 187:2. See Dr.

 8 Siskin’s July 17, 2020, Amended Report (Ex. E) at pp. 4-5, 10, 17-18, 21, 23-30, 34, 45-46, 50, 53-

 9 54, 74, 81, 87-88, 95, 99-108, 112-30, 132-34, and October 13, 2020, Responsive Report (Ex. F) at

10 pp. 13, 20, 25, 46-51, 53-55, 71-72, addressing regression analyses, statistical significance, and trend

11 analyses, statistical analyses for which Mr. Kruskol disclaims any expertise. And though Mr.

12 Kruskol admits lack of competence to conduct trend analyses, his Supplemental Report (Ex. B)

13 includes “fiscal year trend analyses” (pp. 12-13, 15) and cites trends in naturalization rates (p. 33).

14           Notably, Mr. Kruskol concedes that an expert analyzing statistical data needs to understand

15 the substantive issues concerning the data’s subject matter, including how that data was created.

16 Kruskol dep. (Ex. D) at 35:13-20. Yet he admits he has no expertise in USCIS’ processing of

17 immigration benefit applications, generally or under CARRP. Id. at 32:10-22. He has no experience

18 conducting statistical analyses relating to immigration benefit applications, or programs involving

19 vetting or national security concerns (Id. at 35:13 – 36:1), or concerning bias or discrimination

20 claims (Id. at 36:10-15), which are central to Plaintiffs’ class claims.

21           Given his extensive uncertainty about critical aspects of the data he analyzed, owing largely

22 to his lack of expertise in statistical analyses and the subject matter concerning immigration benefit

23 applications and the CARRP process, Mr. Kruskol’s testimony would not assist the trier of fact in

24 resolving any fact at issue concerning any claim Plaintiffs assert. Mr. Kruskol says that to

25 understand the data he sought to analyze, he needed to understand how an application moved

26 through the adjudication process from receipt to potential additional vetting procedures, all the way

27 through adjudication. Id. at 26:15-22. He concedes it was important for him to have a firm

28                                                                                   UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                    CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                   LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 4                      Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                 Washington, D.C. 20044
                                                                                                 (202) 616-4900
               Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 7 of 17



 1 understanding of the CARRP policy and how it operates, particularly in the context of I-485 and N-

 2 400 processing and adjudication, in order to conduct his analysis of the data. Id. at 27-9-18. He

 3 admits, however, that he is not an expert in CARRP policy or CARRP terminology (Id. at 66:19-22,

 4 67:12-16), despite having broad access through Plaintiffs to voluminous CARRP materials produced

 5 during discovery. To prepare his reports, Mr. Kruskol needed to know the information listed on

 6 blank I-485 and N-400 forms, the information processed through various USCIS databases, and how

 7 an application would move through the various processes to final adjudication. Id. at 28:16-29:2.

 8 But Mr. Kruskol was unable to obtain answers to all of his questions about USCIS’ processing of

 9 immigration benefit applications or about CARRP policy through his document review or

10 conversations with Plaintiffs’ counsel. Id. at 29:3-9, 30:12-17. He was unable to resolve questions

11 regarding how an application is identified as CARRP in the USCIS database and dataset provided,

12 potential duplicates he thinks he might have found in the dataset and his lack of understanding how

13 they might exist, some adjudication times for forms I-485 and N-400, and how there could be what

14 he believes are data anomalies concerning an application’s receipt date and last status date or

15 adjudication date. Id. at 29:11-30:10. See also id. at 30:19 – 31:12 (detailing other data issues he

16 says are “unclear to me” or that he is “unable to explain”).

17           Plaintiffs have failed to establish that Mr. Kruskol is qualified to provide statistical analyses

18 as an expert in this case. See Kumho Tire Co., 526 U.S. at 148-49 (court obliged to act as gatekeeper

19 when expert’s knowledge and experience is sufficiently called into question). He has never

20 published anything concerning statistical analyses. Ex. D at 35:10-12. It should be no surprise that

21 he has never presented testimony on statistical analyses or been accepted by a court as a statistical

22 expert. Id. at 36:17-25. The mere fact he might have crunched numbers in a financial accounting

23 setting is of no import in this litigation in which Plaintiffs’ central theme is that the CARRP process

24 for handling immigration benefit applications with potential national security concerns operates with

25 an anti-Muslim animus or discriminates against applicants who are Muslim or from majority-Muslim

26 countries. Also, what little statistical analysis Mr. Kruskol offers, going far beyond his expertise, is

27

28                                                                                     UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                      CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                     LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 5                        Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                   Washington, D.C. 20044
                                                                                                   (202) 616-4900
                 Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 8 of 17



 1 unsound, methodologically flawed, statistically incorrect, and subject to misuse and

 2 misinterpretation. See Siskin Responsive Report (Ex. F) at, e.g., pp. 2.n1, 7-12, 14-21, 32.

 3        II.          Mr. Kruskol’s testimony and opinions should be excluded because they are not
                       relevant to determining any fact or resolving any issue in this case, will not assist
 4                     the trier of fact, and are not based on a reliable methodology.
 5           Mr. Kruskol’s evidence does not address the issues for which the statistical evidence is
 6 relevant to this litigation, most specifically Plaintiffs’ claims that CARRP operates with an anti-

 7 Muslim animus or effect. Directed to the determination by Defendants’ statistical expert, Dr. Siskin,

 8 that once an application is referred to CARRP, there is no relationship between being from a

 9 majority-Muslim country and how long it will take to process an application or whether it will be

10 approved or denied, Mr. Kruskol admitted he could not disagree but declined to further address the

11 issue because he had not performed the analysis and wanted to again review Dr. Siskin’s statement.

12 Kruskol dep. (Ex. D) at 50:1-12. Despite his access to data for that analysis, he explained that he did

13 not address this issue as it was not part of his assignment. Id. at 50:18 – 51:6. Mr. Kruskol could

14 not recall doing any analyses of CARRP adjudication outcomes for applicants from majority-Muslim

15 countries compared to applicants not from majority-Muslim countries. Id. at 51:8-20.

16              The statistical evidence, which Mr. Kruskol’s reports largely side-step or ignore, refute
17 Plaintiffs’ claims that applicants who are Muslim or from majority-Muslim countries are commonly

18 referred to CARRP, where their applications are generally either not adjudicated or are denied.

19 Though his reports do not address those claims, Mr. Kruskol concedes that the USCIS data shows

20 that approximately 28,240 applications of the 10.6 million I-485 and N-400 applications USCIS

21 received (during FY 2013 – FY 2019) were referred to CARRP (about 0.3% of all applications), and

22 that 99.7% of the applications never went into CARRP. Id. at 37:8 – 39:4. [28,240/10,600,000 =

23 0.266%, i.e., 99.724% were not referred to CARRP.] When directed to Dr. Siskin’s determination

24 that about 1.27% of applications from applicants from majority-Muslim countries were processed

25 under CARRP, and thus that 98.73% never went into CARRP, Mr. Kruskol was unable to recall the

26 data, and thus to challenge Dr. Siskin’s statement concerning the data. Id. at 41:20 – 42:6.

27

28                                                                                      UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                       CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                      LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 6                         Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                    Washington, D.C. 20044
                                                                                                    (202) 616-4900
               Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 9 of 17



 1           Although Mr. Kruskol was unable to recall specific numbers, he testified that the

 2 determination that 81.1% of applications adjudicated under CARRP were approved, and that 18.1%

 3 were denied, is “generally consistent with [his] analysis of the data.” Id. at 46:18 – 47:6. Asked

 4 whether he noticed that the data shows that the approval rates for applicants from majority-Muslim

 5 countries whose applications were adjudicated after referral to CARRP were actually higher than for

 6 applicants not from majority-Muslim countries whose applications were adjudicated after referral to

 7 CARRP, Mr. Kruskol was unable to deny this; he explained this was something he had “not

 8 answered yet” in his review of the data. Id. at 48:9 – 49:24.

 9           Distracting from the statistical evidence that is relevant to and which refutes Plaintiffs’

10 claims, Mr. Kruskol offers opinions and conclusions not relevant to resolving any factual issue in

11 this case, and does so without providing a sound methodological basis for his opinions and

12 conclusions. See Daubert, 509 U.S. at 590. He opines, for example, that the USCIS dataset might

13 overstate the number of cases referred to CARRP, and might include duplicate cases. But he does

14 not state the likelihood of any over-flagging of cases as CARRP or how many cases were

15 misclassified, and he does not state that there are any duplicates in the dataset, and if so, how many.

16 Nor does he say whether or how correcting for overflagging or duplication would affect his

17 conclusions concerning any issue or fact to be addressed by the Court. Mr. Kruskol also suggests in

18 his reports that CARRP has a discriminatory effect upon applicants who are Muslim or from

19 majority-Muslim countries, with no stated bases or methodology for reaching that opinion. Kruskol

20 Supplemental Report (Ex. B) at p. 4 (¶ 7g-h), and pp. 16-18 (¶¶’s 44-52). He points to USCIS data

21 showing a higher percentage of referrals to CARRP for applicants from majority-Muslim countries,

22 but this is an observation that the Court could make in perusing the produced USCIS data summaries

23 without expert assistance. What matters is whether the data actually evidence discrimination, given

24 other explanations to account for the higher percentage and that Dr. Siskin address; Mr. Kruskol

25 offers no assistance to the Court on that issue.

26           Mr. Kruskol concedes he is not an expert in determining whether USCIS has correctly

27 referred a case to CARRP (Ex. D at 67:18-22), yet still insists upon addressing the issue. While his

28                                                                                     UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                      CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                     LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 7                        Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                   Washington, D.C. 20044
                                                                                                   (202) 616-4900
              Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 10 of 17



 1 report says that USCIS detailed data “appears to overstate” the number of applications subject to

 2 CARRP, he confessed at his deposition that “I do not know for sure whether or not the updated

 3 USCIS detailed data overstates the number of applications subject to CARRP.” Id. at 75:25 – 76:19.

 4 Mr. Kruskol notably claims no greater expertise than USCIS in determining whether any particular

 5 application in the dataset produced to Plaintiffs was referred to CARRP. Id. at 69-:22 – 70:10. He

 6 conjectures that lacking access to applicants’ A-files and applications diminishes his ability to

 7 determine which applications were referred to or processed in CARRP. Id. at 70:12 – 71:1. He

 8 suggests that accessing USCIS’ FDNS-DS database, for which he disclaims any expertise, might

 9 enable him to determine which applications were referred to CARRP. Id. at 71:24 – 73:9.

10           Though Mr. Kruskol suggests that USCIS might have overstated the number of applications

11 subject to CARRP in its produced dataset, he declines to say there was in fact an overstatement of

12 CARRP cases but conjectures only that “there is a potential for overstatement of CARRP processed

13 applications.” Id. at 155:18 – 156:2, 156:10-14. He has made no attempt to quantify the apparent

14 overstatement, claiming he would need additional fields contained within the FDNS-DS database.

15 Id. at 156:20 – 157:4. He admitted that he would be speculating to say that the overstatement were

16 even more than 1%. Id. at 157:6-19. Thus, even if his testimony were reliable, it would not be

17 probative or relevant to determining any fact at issue, or understanding the evidence.

18           Notably, Mr. Kruskol does not criticize the criteria USCIS used for determining whether a

19 case is a CARRP case, saying “he has no opinion one way or another” concerning the criteria. Id. at

20 159:12-23. Though seeking to raise questions concerning whether USCIS has correctly flagged

21 applications as having been processed under CARRP, Mr. Kruskol confessed that he cannot say with

22 100% certainty, or even 50% plus probability, that an application was never in CARRP for an
                                                                                          3
23 application that was pending at any time while a CME record was open. Id. at 181:1-23.

24

25
     3
26   Mr. Kruskol understands that the CME (case management entity) identifier in FDNS-DS for a
   national security concern case may be opened when it is necessary to perform further review on an
27 individual’s application. Ex. D at 73:10 – 74:2. A pending I-485 or N-400 application can be
   subject to additional vetting under CARRP where a CME is open for the applicant. Id. at 74:4-17.
28                                                                              UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                     CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                    LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 8                       Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                  Washington, D.C. 20044
                                                                                                  (202) 616-4900
              Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 11 of 17



 1           While Mr. Kruskol opines that the USCIS updated data “appears” to have overstated the

 2 number of applications subject to CARRP, he cannot answer whether that purported overstating is of

 3 the number of applications that were subject to CARRP at any time during their pendency, or rather

 4 an overstating of the number that remained subject to CARRP from the time of referral up to their

 5 adjudication or the end of the study period (9/30/19). Kruskol dep. (Ex. D) at 80:10 – 81:23.

 6           Mr. Kruskol testified that even if he had access to all of the data from the sub-status and NS

 7 concern type fields in USCIS’ FDNS-DS database, he could not know in advance of seeing that data

 8 whether, based upon it, he would be able to reach any conclusions on whether any CARRP-flagged

 9 cases were incorrectly flagged and never referred to CARRP. Id. at 140:8 – 141:9. See also id. at

10 90:18 – 91:7 (Kruskol “cannot conclude” whether he would change the CARRP flag for any cases

11 from yes to no if he were to review sub-status data for each CARRP-flagged case); id. at 104:2-12

12 (Asked if obtaining data on the NS concern type and sub-status for the CARRP-flagged applications

13 would impact his determination whether cases were in CARRP or not, Mr. Kruskol was “unable to

14 determine” how his conclusions or analyses might change.) After all that data was subsequently

15 produced to Plaintiffs and Mr. Kruskol in early January 2021 pursuant to the order granting

16 Plaintiffs’ motion to compel production of statistical data (Dkt #445), his Declaration essentially

17 abandoned the claim that any CARRP-flagged cases in the dataset were incorrectly flagged as

18 CARRP cases, and actually referred to CARRP, identifying no cases as incorrectly flagged.

19           Mr. Kruskol suggested in his Declaration and at his deposition that reviewing all underlying

20 applications might assist him in determining which applications were subject to CARRP, though he

21 never offers any basis for that conjecture. He testified that “[w]ithout reviewing any of the

22 underlying CARRP applications, [he’s] unable to confirm whether or not the data within the updated

23 detailed data is accurate” and thus to validate USCIS’ data on whether an application was subject to

24 CARRP. Id. at 122:24 – 123:16. He recalled that USCIS’ Rule 30(b)(6) deponent Kevin Shinaberry

25 testified that reviewing the 10.6 million applications would not be necessary to determine which

26 ones were ever referred to or processed in CARRP (Id. at 123:16 – 124:2), and was unable to

27 identify any basis for disagreeing; he simply stated that he did not know whether USCIS’ data

28                                                                                   UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                    CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                   LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 9                      Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                 Washington, D.C. 20044
                                                                                                 (202) 616-4900
              Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 12 of 17



 1 accurately reflects a review of the underlying applications and CARRP processing status. Id. at

 2 124:4-14.

 3           Mr. Kruskol’s suggestion that reviewing 10.6 million applications would help him determine

 4 which cases were referred to CARRP is not just unfeasible but entirely speculative. He could not

 5 know if CARRP information is discernible from the applications since he could not even recall ever

 6 having reviewed any “completed” I-485 or N-400 applications, or if Plaintiffs’ attorneys had

 7 provided any to him. Id. at 124:16-25. He did review blank application forms, which he confirmed

 8 contain no field or category indicating if an application is subject to CARRP. Id. at 125:14-25.

 9 Even if Mr. Kruskol had access to the underlying 10.6 million applications that are the source of the

10 data produced to Plaintiffs, he does not know if he would have done any different analyses. Id. at

11 127:10-22. Further, he has never seen an A-file (where USCIS maintains each applicant’s N-400

12 and I-485 applications, and other information on the individuals’ immigration history) on anyone.

13 Id. at 127:23 – 128:4. Even if he could access the 10.6 million applications and/or A-files at issue,

14 or some number of them, he does not know how long he would need to review even a single

15 application; nor can he provide any time range for that review. Id. at 128:5-16.

16           Mr. Kruskol’s Declaration suggests, with no basis, that the USCIS data concerning CARRP-

17 flagged cases is anomalous because it includes cases in which the sub-status for various cases

18 change during CARRP processing, and sometimes change more than once on the same day. Yet at

19 his deposition he acknowledged that after a CARRP case goes through vetting, its sub-status can

20 change from one entry to another, such as from NS Not Confirmed to NS Resolved. Id. at 102:9-19.

21           Mr. Kruskol’s opinions concerning potential duplicates in the USCIS dataset are not only

22 speculative, but also not relevant to resolving any fact at issue or understanding the evidence. While

23 Mr. Kruskol suggests the prospect of duplicates within the USCIS data, he is adamant that he is not

24 claiming there are any duplicates within the data, but only that “there are potential duplicates.” Id. at

25 198:12-16. He is “unable to confirm whether or not [he] identified true duplicate records.” Id. at

26 206:14 – 207:6. Nor does he know whether removing the potential duplicates would have a

27 statistically significant impact on his analyses and conclusions. Id. at 220:11 – 221:3. Notably, none

28                                                                                  UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                   CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                  LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 10                    Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                Washington, D.C. 20044
                                                                                                (202) 616-4900
              Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 13 of 17



 1 of the potential duplicates listed in his report are CARRP cases. Id. at 224:9-14. He is not even able

 2 to say that the percentage of duplicates that are CARRP cases is even closer to 1% than to 0%. Id. at

 3 221:5 – 222:10. Also, none of the potential duplicates his report lists involve, to his knowledge,

 4 applicants from majority-Muslim countries. Id. at 224:16 – 225:16.

 5           Most critically, after Mr. Kruskol examined USCIS’ “granular dataset containing 28,214

 6 records [on CARRP-flagged applications] and 219 fields of application and related USCIS data”

 7 [Ex. A, Kruskol Declaration ¶ 13], he identified not even one potential duplicate among the CARRP

 8 cases in the dataset. Moreover, in his listing of potential duplicates in his prior Second Supplemental

 9 Report (Ex. C), based on matching information in a more limited number of fields (e.g., birthdate,

10 country or birth and nationality, application form, application date), Mr. Kruskol did not consider the

11 frequency of twins or multiple births as accounting for most or even a significant portion of his

12 potential duplicates, using for example CDC’s 3.3% background rate for twin births in the United

13 States, which would include about 350,000 twins or multiple births among a population equivalent to

14 the 10.6 million applicants included in the dataset. Kruskol dep. (Ex. D) at 207:25 – 213:23. As

15 explained in Dr. Siskin’s Responsive Report (Ex. F at pp. 10-11), Mr. Kruskol’s claim that the

16 USCIS data contains duplicate applications is not supported by the data he cites. The USCIS data

17 analyst who prepared the database has confirmed that personal identification information shows that

18 the entries are not duplicates, and that the amount of duplication would not be meaningful even if

19 one incorrectly accepted as accurate Mr. Kruskol’s count of potential duplicates. Id.

20           Mr. Kruskol also suggested that the dataset’s inclusion of cases adjudicated within 60 days

21 might be problematic since one of Plaintiffs’ attorneys, whom Mr. Kruskol could not identify,

22 suggested that adjudication within 60 days of application receipt is inconsistent with the time it

23 usually takes to adjudicate an I-485 or N-400 application. Ex. D at 235:24 – 239:1. But of the 10.6

24 million applications included in the dataset, Mr. Kruskol has no guess as to the percentage that

25 should fall within the usual time for adjudication. Id. at 239:14-22. He conceded that over 98% of

26 the adjudications in the USCIS dataset occurred more than 60 days following application receipt. Id.

27 at 239:24 – 240:22. In short, he cannot establish that the data includes questionable adjudications.

28                                                                                  UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                   CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                  LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 11                    Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                Washington, D.C. 20044
                                                                                                (202) 616-4900
                Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 14 of 17



 1           In summary, Mr. Kruskol does not present evidence meeting Fed. R. Evid. 702 and Daubert

 2 standards. He provides only “subjective belief” and “unsupported speculation.” Daubert, 509 U.S.

 3 at 590. His Declaration, reports and testimony should be excluded since they are not founded on a

 4 reliable methodology, and provide improper conclusions, or opinions and inferences that would not

 5 assist the Court as trier of fact in understanding the evidence or resolving any issue in this case. His

 6 selective citing of reported data (or simplistic calculations using that data, e.g., comparing two

 7 numbers to determine the mathematical difference), without any statistical analysis, constitutes

 8 nothing more than statements of fact for which the Court does not need his assistance to discern.

 9       III.        Mr. Kruskol’s testimony and opinions should be excluded under Rule 403
                     because their presentation would waste time, cause confusion and not materially
10                   assist the Court as the trier of fact.
11           Fed. R. Evid. 403 expressly empowers the Court to exclude evidence, even if deemed
12 competent expert testimony that meet the relevancy and reliability requirements of Rule 702 and

13 Daubert, “if its probative value is substantially outweighed by a danger of one or more of the

14 following: … confusing the issues, misleading the jury [or factfinder], undue delay, wasting time, or

15 needlessly presenting cumulative evidence.” Providing minimal statistical analysis, Mr. Kruskol’s

16 reports consist mainly of data snippets he lifted from USCIS tabular summaries of data Defendants

17 produced in June 2020, selected to shore up Plaintiffs’ case narrative, or rudimentary calculations

18 using data from the tabular summaries that require no expert presentation. Where Mr. Kruskol

19 departs from presenting simple snippets of data, or rudimentary calculations made from them, he

20 refers to possible anomalies, potential duplicates, and possible overflagging of CARRP cases, never

21 attesting to the likelihood such anomalies, duplicates or overflagging are actual rather than just

22 potential or, more importantly, that they had a significant impact on the data and would lead to a

23 different resolution of any issue presented to the Court. Mr. Kruskol’s discussion of potential

24 anomalies, duplicates and overflagging would not assist the Court in understanding the evidence or

25 determining any fact at issue, but simply confuse the issues and the Court’s understanding of the

26 statistical evidence, and waste time.

27

28                                                                                  UNITED STATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                   CIVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                  LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 12                    Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                Washington, D.C. 20044
                                                                                                (202) 616-4900
              Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 15 of 17



 1                                             CONCLUSION

 2           For the foregoing reasons, Defendants respectfully request that the Court grant the motion to

 3 exclude the testimony, Declaration, and reports of Plaintiffs’ designated expert Mr. Kruskol.

 4 Dated: March 25, 2021                          Respectfully submitted,
 5
   BRIAN M. BOYNTON                               W. MANNING EVANS
 6 Acting Assistant Attorney General              Senior Trial Counsel
   Civil Division                                 Office of Immigration Litigation
 7 U.S. Department of Justice
                                                  /s/ Lindsay M. Murphy
 8 AUGUST FLENTJE                                 LINDSAY M. MURPHY
   Special Counsel                                Senior Counsel for National Security
 9
   Civil Division                                 Office of Immigration Litigation
10
   ETHAN B. KANTER                                LEON B. TARANTO
11 Chief, National Security Unit                  Trial Attorney
   Office of Immigration Litigation               Torts Branch
12 Civil Division

13                                                BRENDAN T. MOORE
   BRIAN T. MORAN                                 Trial Attorney
14 United States Attorney                         Office of Immigration Litigation

15 BRIAN C. KIPNIS                                JESSE L. BUSEN
   Assistant United States Attorney               Counsel for National Security
16 Western District of Washington                 Office of Immigration Litigation
17
   ANNE DONOHUE                                   VICTORIA M. BRAGA
18 Counsel for National Security                  Trial Attorney
   Office of Immigration Litigation               Office of Immigration Litigation
19
   ANTONIA KONKOLY
20 Trial Attorney

21 Federal Programs Branch                        Counsel for Defendants

22

23

24

25

26

27

28                                                                                   UNITED S TATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                    C IVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                    LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 13                      Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                                 Washington, D.C. 20044
                                                                                                  (202) 616-4900
              Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 16 of 17



 1                                 CERTIFICATE OF CONFERENCE

 2           I HEREBY CERTIFY that counsel for both parties met and conferred on March 22, 2021,

 3 during which time counsel for Defendants notified Plaintiffs’ counsel of our intention to file the

 4 foregoing motion to exclude expert testimony. Plaintiffs’ counsel indicated that they did not agree

 5 with the relief sought.

 6

 7
     Dated: March 25, 2021
 8

 9
   /s/ Lindsay M. Murphy
10 LINDSAY M. MURPHY
   Civil Division
11 U.S. Department of Justice

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                                                 UNITED S TATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                  C IVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                  LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES - 14                    Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                               Washington, D.C. 20044
                                                                                                (202) 616-4900
              Case 2:17-cv-00094-LK Document 475 Filed 03/25/21 Page 17 of 17



1                                        CERTIFICATE OF SERVICE
2
             I hereby certify that on March 25, 2021, I electronically filed the foregoing UNDER SEAL
3
     via the Court’s CM/ECF system, which will send notification of such filing to all counsel of record.
4
     Additionally, I directed that an encrypted copy of the foregoing SEALED submission be served on
5
     counsel for Plaintiffs via email.
6

7
                                                  /s/ Lindsay M. Murphy
8                                                 LINDSAY M. MURPHY
                                                  Senior Counsel for National Security
9                                                 United States Department of Justice
                                                  Civil Division
10
                                                  Office of Immigration Litigation
11                                                P.O. Box 878, Ben Franklin Station
                                                  Washington, DC 20044
12                                                (202) 616-4018
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                                                 UNITED S TATES DEPARTMENT OF JUSTICE
     NOTICE OF MOTION, AND MOTION TO EXCLUDE TESTIMONY OF SEAN M.                  C IVIL DIVISION, OFFICE OF IMMIGRATION
                                                                                                  LITIGATION
     KRUSKOL; MEMORANDUM OF SUPPORTING POINTS AND AUTHORITIES                         Ben Franklin Station, P.O. Box 878
     (Case No. C17-00094RAJ)                                                               Washington, D.C. 20044
                                                                                                (202) 616-4900
